Case 3:16-md-02741-VC Document 1158-1 Filed 02/27/18 Page 1 of 21




                    Exhibit A
      Case 3:16-md-02741-VC Document 1158-1 Filed 02/27/18 Page 2 of 21
     Case 2:17-cv-02401-WBS-EFB Document 75 Filed 02/26/18 Page 1 of 20

1

2

3

4

5

6

7

8                          UNITED STATES DISTRICT COURT

9                         EASTERN DISTRICT OF CALIFORNIA

10

11   NATIONAL ASSOCIATION OF WHEAT         CIV. NO.   2:17-2401 WBS EFB
     GROWERS; NATIONAL CORN
12   GROWERS ASSOCIATION; UNITED           MEMORANDUM AND ORDER RE: MOTION
     STATES DURUM GROWERS                  FOR PRELIMINARY INJUNCTION
13   ASSOCIATION; WESTERN PLANT
     HEALTH ASSOCIATION; IOWA
14   SOYBEAN ASSOCIATION; SOUTH
     DAKOTA AGRI-BUSINESS
15   ASSOCIATION; NORTH DAKOTA
     GRAIN GROWERS ASSOCIATION;
16   MISSOURI CHAMBER OF COMMERCE
     AND INDUSTRY; MONSANTO
17   COMPANY; ASSOCIATED
     INDUSTRIES OF MISSOURI;
18   AGRIBUSINESS ASSOCIATION OF
     IOWA; CROPLIFE AMERICA; AND
19   AGRICULTURAL RETAILERS
     ASSOCIATION,
20
                    Plaintiffs,
21
           v.
22
     LAUREN ZEISE,IN HER OFFICIAL
23   CAPACITY AS DIRECTOR OF THE
     OFFICE OF ENVIRONMENTAL
24   HEALTH HAZARD ASSESSMENT; and
     XAVIER BECERRA, in his
25   official capacity as Attorney
     General of the State of
26   California,
27
                    Defendants.
28
                                          1
      Case 3:16-md-02741-VC Document 1158-1 Filed 02/27/18 Page 3 of 21
     Case 2:17-cv-02401-WBS-EFB Document 75 Filed 02/26/18 Page 2 of 20

1                                  ----oo0oo----

2                Before the court is plaintiffs’ Motion for Preliminary

3    Injunction.    (Docket No. 29.)     The court held a hearing on the

4    motion on February 20, 2018.

5    I.    Factual and Procedural History

6                This case concerns a challenge to California’s listing

7    of glyphosate1 as a chemical known to the State of California to

8    cause cancer, as well as a challenge to California’s warning

9    requirements that accompany that listing.         Plaintiffs claim,

10   among other things, that the listing and warning requirements

11   violate the First Amendment by compelling them to make false,

12   misleading, and highly controversial statements about their

13   products, and they seek a preliminary injunction on this basis.2

14               Under Proposition 65, the Safe Drinking Water and Toxic

15   Enforcement Act of 1986, Cal. Health & Safety Code §§ 25249.5-

16   25249.14 (“Proposition 65”), the Governor of California is

17   required to publish a list of chemicals known to the State to

18   cause cancer, as determined by, inter alia, certain outside

19   entities, including the United States Environmental Protection

20         1
               Glyphosate is a widely-used herbicide used to control
     weeds in various settings and is an active ingredient in
21
     defendant Monsanto Company’s (“Monsanto”) product Roundup.
22   Plaintiffs or their members sell glyphosate-based herbicides, use
     glyphosate in their cultivation of crops that are incorporated
23   into food products sold in California, or process such crops into
     food products sold in California. (Am. Compl. ¶¶ 9-22.)
24
           2
               Plaintiffs also claim that (1) the listing and warning
25   requirements conflict with the Federal Food, Drug, and Cosmetic
26   Act, 21 U.S.C. §§ 343(a) and 346a(n) (“FDCA”), and are thus
     preempted by federal law, and (2) these requirements violate the
27   Due Process Clause of the Fourteenth Amendment, though they do
     not seek a preliminary injunction on these other grounds, and the
28   court expresses no opinion as to those allegations.
                                     2
      Case 3:16-md-02741-VC Document 1158-1 Filed 02/27/18 Page 4 of 21
     Case 2:17-cv-02401-WBS-EFB Document 75 Filed 02/26/18 Page 3 of 20

1    Agency (“EPA”), the United States Food and Drug Administration

2    (“FDA”), and the International Agency for Research on Cancer

3    (“IARC”).3    AFL-CIO v. Deukmejian, 212 Cal. App. 3d 425, 431-34

4    (3d Dist. 1989) (citing, inter alia, Cal. Labor Code 6382(b)(1));

5    see also Cal. Code Regs. tit. 27 §§ 25306(m), 25904(b)4 (“A

6    chemical or substance shall be included on the list [of chemicals

7    known to the state to cause cancer] if it is classified by the

8    International Agency for Research on Cancer” as “carcinogenic to

9    humans” or “[p]robably carcinogenic to humans” and there is

10   “sufficient evidence of carcinogenicity in experimental

11   animals.”).5

12                Proposition 65 also prohibits any person in the course

13   of doing business from knowingly and intentionally exposing

14   anyone to the listed chemicals without a prior “clear and

15
           3
               The IARC was founded in 1965 as the cancer research arm
16   of the United Nations’ World Health Organization, and exists to
     “promote international collaboration in cancer research.”
17
     (Zuckerman Decl., Ex. G at 5-6 (Docket No. 49-7).) The United
18   States was a founding member of the IARC and remains a member.
     (Id. at 27.) The IARC publishes, in the form of “Monographs,”
19   “critical reviews and evaluations of evidence on the
     carcinogenicity of a wide range of human exposures.” (Zuckerman
20   Decl., Ex. H at 10 (Docket No. 49-8).)
               The other two outside entities named under the
21
     Proposition 65 regulations are the National Institute for
22   Occupational Safety and Health, which is part of the Centers for
     Disease Control, and the National Toxicology Program, which is
23   part of the National Institutes of Health. Cal. Code Regs. tit.
     27 § 25306(m).
24
           4
               Several new regulations implementing Proposition 65
25   take effect August 30, 2018. This opinion refers to the current
26   versions of the regulations unless otherwise noted.
           5
27             The Office of Environmental Health Hazard Assessment
     (“OEHHA”) is the agency responsible for implementing Proposition
28   65. Cal. Code Regs. tit. 27 div. 4 ch. 1 Preamble.
                                     3
      Case 3:16-md-02741-VC Document 1158-1 Filed 02/27/18 Page 5 of 21
     Case 2:17-cv-02401-WBS-EFB Document 75 Filed 02/26/18 Page 4 of 20

1    reasonable” warning, with this prohibition taking effect 12

2    months after the chemical has been listed.         Cal. Health & Safety

3    Code § 25249.6; Deukmejian, 212 Cal. App. 3d at 431-34.              Failure

4    to comply may result in penalties up to $2,500 per day for each

5    failure to provide an adequate warning, and enforcement actions

6    may be brought by the California Attorney General, district

7    attorneys, certain city attorneys and city prosecutors, and

8    private citizens who may recover attorney’s fees.          Cal. Health &

9    Safety Code § 25249.7(b), Cal. Code Regs. tit. 11 § 3201.

10               In 2015, the IARC classified glyphosate as “probably

11   carcinogenic” to humans based on evidence that it caused cancer

12   in experimental animals and limited evidence that it could cause

13   cancer in humans.     (Zuckerman Decl. (Docket No. 49), Ex. H,

14   Preamble (Docket No. 49-8), and Ex. O, IARC Glyphosate, from

15   Monograph 112 (Docket No. 49-15).)        However, several other

16   organizations, including the EPA and other agencies within the

17   World Health Organization, have concluded that there is no

18   evidence that glyphosate causes cancer.         (Prins Decl., Exs. E-L

19   (Docket Nos. 29-8 through 29-15).)6        As a result of the IARC’s

20   classification of glyphosate as probably carcinogenic, the OEHHA
21
           6
22             Although defendants do not object to plaintiffs’
     attachment of several glyphosate studies, defendants object to
23   several declarations provided by plaintiffs, arguing that they
     are speculative and/or contain inadmissible hearsay. (Defs.’
24   Objs. (Docket No. 46).) However, as defendants concede, evidence
     in support of a preliminary injunction application need not meet
25   normal evidentiary standards, and the court may consider and give
26   weight to inadmissible evidence in considering preliminary
     relief. See Heideman v. S. Salt Lake City, 348 F.3d 1182, 1188
27   (10th Cir. 2003); Johnson v. Couturier, 572 F.3d 1067, 1083 (9th
     Cir. 2009). The court therefore OVERRULES defendants’
28   objections.
                                     4
      Case 3:16-md-02741-VC Document 1158-1 Filed 02/27/18 Page 6 of 21
     Case 2:17-cv-02401-WBS-EFB Document 75 Filed 02/26/18 Page 5 of 20

1    issued a Notice of Intent to List Glyphosate in November 2015.

2    (Zuckerman Decl., Ex. Q (Docket No. 49-17).)

3                The OEHHA listed glyphosate as a chemical known to the

4    state of California to cause cancer on July 7, 2017, and thus the

5    attendant warning requirement takes effect on July 7, 2018.

6    (Zuckerman Decl., Ex. T, OEHHA Chemicals Known to the State to

7    Cause Cancer or Reproductive Toxicity List (December 28, 2017)

8    (Docket No. 49-20).)

9    II. Discussion

10               Injunctive relief is “an extraordinary and drastic

11   remedy, one that should not be granted unless the movant, by a

12   clear showing, carries the burden of persuasion.”          Mazurek v.

13   Armstrong, 520 U.S. 968, 972 (1997) (citation omitted).              In order

14   to obtain a preliminary injunction, the moving party must

15   establish (1) it is likely to succeed on the merits, (2) it is

16   likely to suffer irreparable harm in the absence of preliminary

17   relief, (3) the balance of equities tips in its favor, and (4) an

18   injunction is in the public interest.        Winter v. Nat. Res. Def.

19   Council, Inc., 555 U.S. 7, 20 (2008).

20         A.    Ripeness
21               Before the court examines the merits of plaintiffs’

22   First Amendment claim, the court will consider whether this claim

23   is ripe.    “Ripeness is peculiarly a question of timing, designed

24   to prevent the courts, through avoidance of premature

25   adjudication, from entangling themselves in abstract

26   disagreements.”     Thomas v. Anchorage Equal Rights Comm’n, 220
27   F.3d 1134, 1138 (9th Cir. 2000) (citations and internal

28   punctuation omitted).      Courts must examine whether a case is ripe
                                          5
      Case 3:16-md-02741-VC Document 1158-1 Filed 02/27/18 Page 7 of 21
     Case 2:17-cv-02401-WBS-EFB Document 75 Filed 02/26/18 Page 6 of 20

1    because their role “is neither to issue advisory opinions nor to

2    declare rights in hypothetical cases, but to adjudicate live

3    cases or controversies consistent with the powers granted the

4    judiciary in Article III of the Constitution.”          Id.

5                The ripeness inquiry includes both “constitutional” and

6    “prudential” components.      Id.   Under the constitutional component

7    of standing, courts consider “whether the plaintiffs face a

8    realistic danger of sustaining direct injury as a result of the

9    statute’s operation or enforcement, or whether the alleged injury

10   is too imaginary or speculative to support jurisdiction.”               Id.

11   (citations and internal quotations omitted).         Under the

12   prudential component, courts consider (1) the fitness of the

13   issues for judicial decision and (2) the hardship to the parties

14   of withholding court consideration.        Id. at 1142.       For the

15   reasons discussed below, the court finds that plaintiffs’ First

16   Amendment challenge is ripe under both the constitutional and

17   prudential inquiries.

18               First, defendants argue that plaintiffs’ First

19   Amendment challenge is unripe because plaintiffs may not have to

20   provide any warning if their products’ glyphosate levels are
21   below the “safe harbor” level that will likely be adopted by the

22   State before the warnings are required.         However, regardless of

23   the State’s possible enactment of a safe harbor level, plaintiffs

24   still face a significant risk of injury.         The court recognizes

25   that (1) Proposition 65 provides that no warning is required for

26   a product where an exposure poses no significant risk assuming
27   lifetime exposure at the level in question, Cal. Health & Safety

28   Code § 25249.10; (2) the OEHHA has set specific safe harbor
                                          6
      Case 3:16-md-02741-VC Document 1158-1 Filed 02/27/18 Page 8 of 21
     Case 2:17-cv-02401-WBS-EFB Document 75 Filed 02/26/18 Page 7 of 20

1    levels for several chemicals, and no warnings are required if the

2    daily exposure caused by a product is below that safe harbor

3    level, Cal. Code Regs. tit. 27 § 25705; and (3) the OEHHA has

4    proposed a safe harbor level of 1,100 micrograms per day for

5    glyphosate, and the corresponding regulation setting that level

6    is expected to be completed by July 1, 2018, (Fernandez Decl. ¶ 9

7    (Docket No. 48)).

8                Nevertheless, assuming plaintiffs’ products were tested

9    and found to contain concentrations of glyphosate below the safe

10   harbor level as set by Cal. Code. Regs. tit. 27 § 25705,

11   plaintiffs would still have no reasonable assurance that they

12   would not be subject to enforcement action.         Plaintiffs have

13   provided evidence that private plaintiffs have brought

14   enforcement actions for various chemicals notwithstanding a

15   defense of compliance with the safe harbor level for those

16   chemicals, including where the California Attorney General said a

17   proposed enforcement suit had no merit.7        Thus, plaintiffs, who

18         7
               (See, e.g., Norris Decl. ¶¶ 8-10 (Docket No. 66-7)
19   (discussing lawsuit lasting for 6 years brought against
     McDonald’s Corporation and other restaurants based on allegations
20   that their cooked chicken exposed Californians to the listed
     carcinogen “PHIP,” despite a California Attorney General
21
     determination that the level of PHIP in cooked chicken fell far
22   below the level that would require a warning under Proposition
     65); Norris Decl. ¶¶ 28-31 (discussing Proposition 65 actions
23   brought against restaurants and food companies notwithstanding
     safe harbor level for acrylamide set in 1990).) See also
24   Sciortino v. PepsiCo, Inc., 108 F. Supp. 3d 780, 786 (N.D. Cal.
     2015) (denying motion to dismiss where parties disputed whether
25   defendant’s products exceeded the safe harbor level); Envtl. Law
26   Found. v. Beech-Nut Nutrition Corp., 235 Cal. App. 4th 307, 314
     (1st Dist. 2015) (discussing Proposition 65 enforcement action
27   where safe harbor defense was litigated at trial and noting that
     defendants had the burden of showing that the level of chemicals
28   in their products did not exceed the safe harbor); CKE Rests.,
                                     7
      Case 3:16-md-02741-VC Document 1158-1 Filed 02/27/18 Page 9 of 21
     Case 2:17-cv-02401-WBS-EFB Document 75 Filed 02/26/18 Page 8 of 20

1    have stated they intend to give no warning based on their

2    constitutional right against compelled speech, face a credible

3    threat of enforcement as a result of exercising such right,

4    regardless of the possible enactment of a safe harbor level for

5    glyphosate.8

6                Defendants claim that enforcement actions would be

7    unlikely in the event that a product did not exceed the safe

8    harbor level for glyphosate, citing both the steps required to

9    file suit (which require 60 days’ notice and the filing of a

10   certificate of merit) and the fact that the Attorney General will

11   likely inform the private enforcer that (1) there was no

12   violation, (2) an action was not in the public interest, and (3)

13   the action would not warrant civil penalties and fees.

14   Defendants also note that if the private enforcer refused to

15   withdraw its notice of violation, the Attorney General would then

16   post a letter on the Attorney General website stating that there

17
     Inc. v. Moore, 159 Cal. App. 4th 262, 265 (2d Dist. 2008)
18   (dismissing suit seeking declaration that private party could not
     initiate Proposition 65 litigation because safe harbor level was
19   not exceeded).

20         8
               Plaintiffs have also provided evidence of likely lost
     sales if they do not provide Proposition 65 warnings on their
21
     products, regardless of whether the state establishes a safe
22   harbor level for glyphosate. At least one major retailer has
     explained that it will no longer carry glyphosate-based
23   herbicides without any Proposition 65 warning and will remove
     these herbicides by July 8, 2018, regardless of any safe harbor
24   level that may be set by California. (Martin Decl. ¶ 3 (Docket
     No. 66-15).) Businesses who wish to comply with Proposition 65’s
25   warning requirement are also faced with the costs of compliance
26   in advance of the July 7, 2018 deadline in the event that a safe
     harbor level is not established by that deadline. See, e.g.,
27   Core-Mark Int’l v. Mont. Bd. of Livestock, 701 F. App’x 568, 571
     (9th Cir. 2017) (cost to separately package, label, and inventory
28   milk destined for sale in Montana were concrete injuries).
                                     8
     Case 3:16-md-02741-VC Document 1158-1 Filed 02/27/18 Page 10 of 21
     Case 2:17-cv-02401-WBS-EFB Document 75 Filed 02/26/18 Page 9 of 20

1    was no merit to the proposed enforcement action.          Notwithstanding

2    these purported barriers, one California Court of Appeal has

3    explained that the instigation of Proposition 65 enforcement

4    actions is “easy – and almost absurdly easy at the pleading stage

5    and pretrial stages.”      See Consumer Def. Grp. v. Rental Hous.

6    Indus. Members, 137 Cal. App. 4th 1185, 1215 (4th Dist. 2006).

7                Further, in order to take advantage of the safe harbor,

8    plaintiffs would be required to test their products to determine

9    whether their products exceeded the safe harbor level, incurring

10   the attendant costs, which in itself is a cognizable injury.

11   See, e.g., Monsanto Co. v. Geertson Seed Farms, 561 U.S. 139,

12   154-55 (2010) (farmers seeking injunctive relief had standing

13   based on, inter alia, the cost of testing crops that would be

14   required if injunction was not granted).9

15               Second, defendants argue that plaintiffs’ First

16   Amendment challenge is unripe because even if their products

17
           9
18             (See also Inman Decl. ¶¶ 7-9; Novak Decl. ¶¶ 4-6; Hurst
     Decl. ¶¶ 5-7; Mehan Decl. ¶¶ 4-6; Stoner Decl. ¶¶ 6-9; Kessel
19   Decl. ¶ 4; Jackson Decl. ¶¶ 5-10; McCarty Decl. ¶¶ 11-13;
     Brinkmeyer Decl. ¶¶ 5-6; Martinson Decl. ¶¶ 5-9; Heering Decl. ¶¶
20   37, 39-41; and Wogsland Decl. ¶¶ 5-9 (Docket Nos. 29-52 through
     29-59 and 29-61 through 29-63) (explaining that testing
21
     requirement or change in production to avoid testing requirements
22   would cause significant changes to farmers’ operations, increase
     costs, and put them at a competitive disadvantage); Supp. Stoner
23   Decl. ¶¶ 7-8; Supp. Jackson Decl. ¶6; Supp. Hurst Decl. ¶¶ 5-7;
     and Supp. Inman Decl. ¶¶ 7-9 (Docket No. 66-12 through 66-16)
24   (farmers stating that they do not test their crops for glyphosate
     and were not required to do so by the EPA); Heering Decl. ¶ 10
25   (Docket No. 66-6) (explaining that farmers do not have to
26   separately test crops for herbicide residue under federal law
     because herbicide labeling laws already require that herbicides,
27   if used according to the labeling instructions, will not result
     in an exposure that exceeds the EPA’s tolerance for a given
28   crop).)
                                     9
      Case 3:16-md-02741-VC Document 1158-1 Filed 02/27/18 Page 11 of 21
     Case 2:17-cv-02401-WBS-EFB Document 75 Filed 02/26/18 Page 10 of 20

1     exceed the safe harbor level plaintiffs may defend any

2     enforcement action by showing their products do not pose a

3     significant cancer risk.      However, that would merely be an

4     affirmative defense which plaintiffs would have to assert once

5     the enforcement action is brought against them,10 and facing

6     enforcement actions, or even the possible risk of enforcement

7     actions, are cognizable injuries.       See, e.g., Italian Colors

8     Rest. v. Becerra, 878 F.3d 1165, 1173 (9th Cir. 2018) (party had

9     standing because “even if the Attorney General would not enforce

10    the law, [the statute under review] gives private citizens a

11    right of action to sue for damages”).

12               Third, defendants argue that plaintiffs’ First

13    Amendment challenge is unripe because it has not been determined

14    what any required warning would have to say.         However, as

15    discussed in detail below in the court’s discussion of the

16    likelihood of success on the merits, any warning which plaintiffs

17    might be able to devise consistent with defendants’ demands under

18    the regulations interpreting Proposition 65 would be inconsistent

19    with plaintiffs’ First Amendment rights.

20         10
                See, e.g., Consumer Def. Grp., 137 Cal. App. 4th at
      1214 (explaining that the burden shifting provisions of
21
      Proposition 65 “make it virtually impossible for a private
22    defendant to defend a warning action on the theory that the
      amount of carcinogenic exposure is so low as to pose ‘no
23    significant risk’ short of actual trial”) (citing Cal. Health &
      Safety Code § 25349.10(c)) (warning requirement shall not apply
24    to “[a]n exposure for which the person responsible can show that
      the exposure poses no significant risk assuming lifetime exposure
25    at the level in question . . . based on evidence and standards of
26    comparable scientific validity to the evidence and standards
      which form the scientific basis for the listing of such
27    chemical,” and “[i]n any action brought to enforce [the warning
      requirement], the burden of showing that an exposure meets the
28    criteria of this subdivision shall be on the defendant.”).
                                      10
      Case 3:16-md-02741-VC Document 1158-1 Filed 02/27/18 Page 12 of 21
     Case 2:17-cv-02401-WBS-EFB Document 75 Filed 02/26/18 Page 11 of 20

1          B.    Likelihood of Success on the Merits

2                As in initial matter, plaintiffs have not shown a

3     likelihood of success on the merits of their claim that the

4     listing of glyphosate violates the First Amendment, because the

5     listing is government speech, not private speech.          “The Free

6     Speech Clause restricts government regulation of private speech;

7     it does not regulate government speech.”        Pleasant Grove City v.

8     Summum, 555 U.S. 460, 467 (2009).        California’s listing of

9     chemicals it purportedly knows to cause cancer is neither a

10    restriction of private speech nor government-compelled private

11    speech.   The fact that the listing triggers Proposition 65’s

12    warning requirement does not transform the listing itself into

13    government-compelled speech.      Indeed, glyphosate has been listed

14    by California since July 2017, and plaintiffs have not been

15    required to provide any warnings.        It is only the upcoming July

16    2018 deadline for providing the Proposition 65 warning that

17    compels private speech.      Thus, plaintiffs have not shown a

18    likelihood of success on the merits of their claim that the

19    listing of glyphosate violates the First Amendment.

20               Similarly, plaintiffs have not shown a likelihood of
21    irreparable harm should the court fail to enjoin the listing of

22    glyphosate, because any harm that plaintiffs might suffer is

23    caused by the warning requirements of Proposition 65, rather than

24    the listing itself.     Notably, plaintiffs do not claim that they

25    have already suffered any injury as a result of the listing, but

26    only allege that they will suffer injury as the warning
27    requirement deadline approaches and takes effect.          In other

28    words, any alleged irreparable injury could be prevented directly
                                          11
      Case 3:16-md-02741-VC Document 1158-1 Filed 02/27/18 Page 13 of 21
     Case 2:17-cv-02401-WBS-EFB Document 75 Filed 02/26/18 Page 12 of 20

1     by enjoining the warning requirement.        Accordingly, the court

2     will deny a preliminary injunction based on plaintiffs’ claim

3     that the glyphosate listing violates the First Amendment.

4                A different analysis is required for the warning

5     requirement, as it compels commercial speech.         In Zauderer v.

6     Office of Disciplinary Counsel of Supreme Court of Ohio, 471 U.S.

7     626, 651 (1985), the Supreme Court held that the government may

8     require commercial speakers to disclose “purely factual and

9     uncontroversial information” about commercial products or

10    services, as long as the “disclosure requirements are reasonably

11    related” to a substantial government interest and are neither

12    “unjustified [n]or unduly burdensome.”         See also CTIA-The

13    Wireless Ass’n v. City of Berkeley, 854 F.3d 1105, 1118 (9th Cir.

14    2017).

15               The State has the burden of demonstrating that a

16    disclosure requirement is purely factual and uncontroversial, not

17    unduly burdensome, and reasonably related to a substantial

18    government interest.     See Zauderer, 471 U.S. at 658-59; Ibanez v.

19    Fla. Dep’t of Bus. & Prof’l Regulation, Bd. of Accountancy, 512

20    U.S. 136, 146 (1994).     The dispute in the present case is over
21    whether the compelled disclosure is of purely factual and

22    uncontroversial information.      In this context, “uncontroversial”

23    “refers to the factual accuracy of the compelled disclosure, not

24    to its subjective impact on the audience.”        CTIA, 854 F.3d at

25    1117-18.   Further, “a statement may be literally true but

26    nonetheless misleading and, in that sense, untrue” and therefore
27    unconstitutionally compelled private speech under Zauderer.           Id.

28    at 1119; see also Am. Meat Inst. v. U.S. Dep’t of Agric., 760
                                          12
      Case 3:16-md-02741-VC Document 1158-1 Filed 02/27/18 Page 14 of 21
     Case 2:17-cv-02401-WBS-EFB Document 75 Filed 02/26/18 Page 13 of 20

1     F.3d 18, 27 (D.C. Cir. 2014) (recognizing possibility that

2     required factual disclosures “could be so one-sided or incomplete

3     that they would not qualify as ‘factual and uncontroversial’”)

4     (citation omitted).

5                 Defendants argue that any warning for glyphosate that

6     incorporates the current safe-harbor warning language “known to

7     the state of California to cause cancer” or (“known to cause

8     cancer”) will be truthful and not misleading because Proposition

9     65 and its implementing regulations state that chemicals are

10    “known” to the State to cause cancer when, inter alia, they are

11    classified by the IARC as “[p]robably carcinogenic to humans” and

12    there is “sufficient evidence of carcinogenicity in experimental

13    animals.”   See Cal. Code Regs. tit. 27 § 25904(b).         Because the

14    IARC classified glyphosate as a probable carcinogen and there was

15    sufficient evidence of carcinogenicity in animals, defendants

16    argue that California does in fact “know” that glyphosate causes

17    cancer under the applicable regulations, and its warning is

18    factually accurate.

19                While it may be literally true that California “knows”

20    that glyphosate causes cancer as the State has defined that term
21    in the statute and regulations, the required warning would

22    nonetheless be misleading to the ordinary consumer.          See, e.g.,

23    CTIA-The Wireless Ass’n v. City and County of San Francisco, 827

24    F. Supp. 2d 1054, 1062-63 (9th Cir. 2011), aff’d, 494 F. App’x

25    752 (9th Cir. 2012) (granting preliminary injunction in part

26    because required fact sheet was misleading because it failed “to
27    explain the limited significance of the WHO ‘possible carcinogen’

28    classification,” which implied that radiofrequency energy from
                                          13
      Case 3:16-md-02741-VC Document 1158-1 Filed 02/27/18 Page 15 of 21
     Case 2:17-cv-02401-WBS-EFB Document 75 Filed 02/26/18 Page 14 of 20

1     cell phones was “more dangerous than it really is,” and

2     explaining that the fact sheet should state that “RF Energy has

3     been classified by the World Health Organization as a possible

4     carcinogen rather than as a known carcinogen or a probable

5     carcinogen and studies continue to assess the potential health

6     effects of cell phones.”).

7                Ordinary consumers do not interpret warnings in

8     accordance with a complex web of statutes, regulations, and court

9     decisions, and the most obvious reading of the Proposition 65

10    cancer warning is that exposure to glyphosate in fact causes

11    cancer.   A reasonable consumer may understand that if the warning

12    says “known to cause cancer,” there could be a small minority of

13    studies or experts disputing whether the substance in fact causes

14    cancer.   However, a reasonable consumer would not understand that

15    a substance is “known to cause cancer” where only one health

16    organization had found that the substance in question causes

17    cancer and virtually all other government agencies and health

18    organizations that have reviewed studies on the chemical had

19    found there was no evidence that it caused cancer.          Under these

20    facts, the message that glyphosate is known to cause cancer is
21    misleading at best.

22               The court also rejects defendants’ arguments that the

23    warning requirement is permissible under Zauderer because (1)

24    Proposition 65 does not require plaintiffs to use the language

25    “known to the state of California to cause cancer,” and (2)

26    plaintiffs may not have to provide warnings if their products
27    fall below the safe harbor level that will likely be adopted.

28    Under the applicable regulations, in order for a warning to be
                                          14
      Case 3:16-md-02741-VC Document 1158-1 Filed 02/27/18 Page 16 of 21
     Case 2:17-cv-02401-WBS-EFB Document 75 Filed 02/26/18 Page 15 of 20

1     per se clear and reasonable, the warning must state that the

2     chemical is known to cause cancer.       California regulations also

3     discourage, if not outright prohibit, language that calls into

4     doubt California’s knowledge that a chemical causes cancer.11

5     Notably, defendants provide no example of a more detailed warning

6     explaining the debate regarding glyphosate’s carcinogenicity that

7     would pass muster under Proposition 65 and the applicable

8     regulations; and at oral argument, defense counsel repeatedly

9     rejected various alternative warnings proposed by the court which

10    would provide more context or use more accurate language.

11    Defendants have the burden of showing that the speech they wish

12    to compel is factually accurate and uncontroversial.          See

13    Zauderer, 471 U.S. at 658-59; Ibanez, 512 U.S. at 146.12

14               On the evidence before the court, the required warning

15    for glyphosate does not appear to be factually accurate and

16    uncontroversial because it conveys the message that glyphosate’s

17    carcinogenicity is an undisputed fact, when almost all other

18    regulators have concluded that there is insufficient evidence

19    that glyphosate causes cancer.       For example, the EPA has reviewed

20    studies regarding the carcinogenicity of glyphosate multiple
21         11
                See Cal. Health & Safety Code § 25249.6; Cal. Code
22    Regs. tit. 27 §§ 25601 and 25603.2; Cal. Code Regs. tit. 11 §
      3202(b).
23
           12
                Indeed, it is not clear that there is any warning which
24    would provide the necessary context regarding glyphosate’s
      possible cancer risk, given that California’s regulations appear
25    to make it impossible for plaintiffs to explain in the warning
26    that the IARC’s determination is contrary to that reached by
      other organizations, or that the IARC did not find that
27    glyphosate causes cancer in humans, but that it found that
      glyphosate was probably carcinogenic based on sufficient evidence
28    in experimental animals and limited evidence in humans.
                                      15
      Case 3:16-md-02741-VC Document 1158-1 Filed 02/27/18 Page 17 of 21
     Case 2:17-cv-02401-WBS-EFB Document 75 Filed 02/26/18 Page 16 of 20

1     times and has determined each time that there was no or

2     insufficient evidence that glyphosate causes cancer, most

3     recently in September 2016.13      Several international agencies have

4     likewise concluded that there is insufficient evidence that

5     glyphosate causes cancer, including the European Commission’s

6     Health and Consumer Protection Directorate-General, multiple

7     divisions of the World Health Organization besides the IARC, and

8     Germany’s lead consumer health and safety regulator.          (Prins

9     Decl., Exs. I, J, K, L (Docket Nos. 29-12, 29-13, 29-14, 29-

10    15).)14

11               It is inherently misleading for a warning to state that

12    a chemical is known to the state of California to cause cancer

13    based on the finding of one organization (which as noted above,

14    only found that substance is probably carcinogenic), when

15    apparently all other regulatory and governmental bodies have

16    found the opposite, including the EPA, which is one of the bodies

17
           13
18              (See Prins Decl., Ex. E (Docket No. 29-8) (EPA renewal
      of glyphosate registration under the Federal Insecticide,
19    Fungicide, and Rodenticide Act); Prins Decl., Ex. F (Docket No.
      29-9) (2014 EPA review of more than 55 epidemiological studies
20    concluding that “that this body of research does not provide
      evidence to show that glyphosate causes cancer, and it does not
21
      warrant any change in EPA’s cancer classification for
22    glyphosate.”); (Prins Decl., Ex. P (Docket No. 29-20) (EPA’s
      Office of Pesticide Programs 228-page paper considered “23
23    epidemiological studies, 15 animal carcinogenicity studies, and
      nearly 90 genotoxicity studies for the active ingredient
24    glyphosate” and concluded that “[t]he available data at this time
      do no[t] support a carcinogenic process for glyphosate”).)
25
           14
26              Notably, in 1997 and 2007, California’s own OEHHA
      examined studies of glyphosate to set public health goals for
27    drinking water, both times determining that glyphosate did not
      pose a cancer risk. (Prins. Decl., Exs. G, H (Docket Nos. 29-10,
28    29-11).)
                                      16
      Case 3:16-md-02741-VC Document 1158-1 Filed 02/27/18 Page 18 of 21
     Case 2:17-cv-02401-WBS-EFB Document 75 Filed 02/26/18 Page 17 of 20

1     California law expressly relies on in determining whether a

2     chemical causes cancer.      The court expresses no opinion as to

3     whether a statement that a chemical is known to cause cancer is

4     factually accurate and uncontroversial where there is stronger

5     evidence in support of the chemical’s carcinogenicity.           However,

6     here, given the heavy weight of evidence in the record that

7     glyphosate is not in fact known to cause cancer, the required

8     warning is factually inaccurate and controversial.          See CTIA, 854

9     F.3d at 1119; Am. Meat Inst., 760 F.3d at 27.

10               The court’s First Amendment inquiry here boils down to

11    what the state of California can compel businesses to say.

12    Whether Proposition 65’s statutory and regulatory scheme is good

13    policy is not at issue.      However, where California seeks to

14    compel businesses to provide cancer warnings, the warnings must

15    be factually accurate and not misleading.        As applied to

16    glyphosate, the required warnings are false and misleading.

17    Plaintiffs have thus established a likelihood of success on the

18    merits of their claim that the warning requirement violates their

19    First Amendment rights.15

20         C.    Irreparable Harm
21               The Ninth Circuit has explained that “[i]rreparable

22    harm is relatively easy to establish in a First Amendment Case.”

23    CTIA, 854 F.3d at 1123.      “[A] party seeking preliminary

24    injunctive relief in a First Amendment context can establish

25
           15
26              Because the court finds that warning requirement
      violates plaintiffs’ First Amendment rights on this ground, the
27    court does not reach the issue of whether the warning is
      reasonably related to a substantial government interest or
28    imposes an undue burden.
                                      17
      Case 3:16-md-02741-VC Document 1158-1 Filed 02/27/18 Page 19 of 21
     Case 2:17-cv-02401-WBS-EFB Document 75 Filed 02/26/18 Page 18 of 20

1     irreparable injury . . . by demonstrating the existence of a

2     colorable First Amendment claim.”       Id. (quoting Sammartano v.

3     First Judicial Dist. Court, 303 F.3d 959, 973 (9th Cir. 2002)).

4     Moreover, “[t]he loss of First Amendment freedoms, for even

5     minimal periods of time, unquestionably constitutes irreparable

6     injury.”   Valle Del Sol Inc. v. Whiting, 709 F.3d 808, 828 (9th

7     Cir. 2013) (quoting Elrod v. Burns, 427 U.S. 347, 373 (1976)).

8     Here, because plaintiffs have established that they are likely to

9     succeed on their First Amendment claim as to Proposition 65’s

10    warning requirement, they have also established that they will

11    likely suffer irreparable harm if the warning requirement is not

12    enjoined as to glyphosate.16

13         D.    Balance of Equities and Public Interest

14               When the government is a party, the balance of equities

15    and public interest factors merge.       Drakes Bay Oyster Co. v.

16    Jewell, 747 F.3d 1073, 1092 (9th Cir. 2014) (citing Nken v.

17    Holder, 556 U.S. 418, 435 (2009)).       To determine the balance of

18    equities, the court must “balance the interests of all parties

19    and weigh the damage to each.”       Stormans, Inc. v. Selecky, 586

20    F.3d 1109, 1138 (9th Cir. 2009) (citation omitted).
21               While the court recognizes that the state has a

22    significant interest in protecting its citizens and informing

23
           16
                Plaintiffs also claim that the warning requirement will
24    cause several other harms including damage to the reputation and
      goodwill of plaintiffs and their products, loss of customers, the
25    cost and burden of testing, and disruption to supply chains and
26    existing business practices. Because the court finds that
      plaintiffs have shown a likelihood of irreparable harm based on
27    the likely infringement of their First Amendment rights, the
      court expresses no opinion as to the likelihood of these other
28    injuries or whether any such alleged harms are irreparable.
                                      18
      Case 3:16-md-02741-VC Document 1158-1 Filed 02/27/18 Page 20 of 21
     Case 2:17-cv-02401-WBS-EFB Document 75 Filed 02/26/18 Page 19 of 20

1     them of possible health risks, the Ninth Circuit has consistently

2     “recognized the significant public interest in upholding First

3     Amendment principles.”     Doe v. Harris, 772 F.3d 563, 583 (9th

4     Cir. 2014) (quoting Sammartano, 303 F.3d at 974).          Further,

5     California “has no legitimate interest in enforcing an

6     unconstitutional” law.     See KH Outdoor, LLC v. City of

7     Trussville, 458 F.3d 1261, 1272 (11th Cir. 2006).          Providing

8     misleading or false labels to consumers also undermines

9     California’s interest in accurately informing its citizens of

10    health risks at the expense of plaintiffs’ First Amendment

11    rights.   Accordingly, the balance of equities and public interest

12    weigh in favor of enjoining Proposition 65’s warning requirement

13    for glyphosate.

14               As plaintiffs have shown that they are likely to

15    succeed on the merits of their First Amendment claim, are likely

16    to suffer irreparable harm absent an injunction, and that the

17    balance of equities and public interest favor an injunction, the

18    court will grant plaintiffs’ request to enjoin Proposition 65’s

19    warning requirement for glyphosate.

20               IT IS THEREFORE ORDERED that plaintiffs’ Motion for a
21    Preliminary Injunction (Docket No. 29) be, and the same hereby

22    is, GRANTED IN PART.     Plaintiffs’ request for a preliminary

23    injunction enjoining defendants from listing glyphosate as a

24    chemical known to the State of California to cause cancer under

25    California Health & Safety Code § 25249.8 is DENIED.          Plaintiffs’

26    request for a preliminary injunction enjoining the warning
27    requirement of California Health & Safety Code § 25249.6 as to

28    glyphosate is GRANTED.     Pending final resolution of this action,
                                          19
      Case 3:16-md-02741-VC Document 1158-1 Filed 02/27/18 Page 21 of 21
     Case 2:17-cv-02401-WBS-EFB Document 75 Filed 02/26/18 Page 20 of 20

1     defendants, their agents and employees, all persons or entities

2     in privity with them, and anyone acting in concert with them are

3     hereby ENJOINED from enforcing as against plaintiffs, plaintiffs’

4     members, and all persons represented by plaintiffs, California

5     Health & Safety Code § 25249.6’s requirement that any person in

6     the course of doing business provide a clear and reasonable

7     warning before exposing any individual to glyphosate.

8     Dated:   February 26, 2018

9

10

11

12

13

14

15

16

17

18

19

20
21

22

23

24

25

26
27

28
                                          20
